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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT ARKANSAS
                                FAYETTEVILLE DIVISION
                                                    X
JILL DILLARD, JESSA SEEWALD, JINGER              :
VUOLO, and JOY DUGGAR,                           :        Civil Action No.: 17 Civ. 5089 (TLB)
                                                 :
                            Plaintiffs,          :
                                                 :
                - against -                      :
                                                 :
CITY OF SPRINGDALE, ARKANSAS;                    :
WASHINGTON COUNTY, ARKANSAS;                     :
KATHY O’KELLEY, in her individual and            :
official capacities; ERNEST CATE, in his         :
individual and official capacities; RICK HOYT, :
in his individual and official capacities; STEVE :
ZEGA, in his official capacity; BAUER            :
PUBLISHING COMPANY, L.P.; BAUER                  :
MAGAZINE, L.P.; BAUER MEDIA GROUP, :
INC.; BAUER, INC.; HEINRICH BAUER                :
NORTH AMERICA, INC.; BAUER MEDIA                 :
GROUP USA, LLC; and DOES 1-10, inclusive, :
                                                 :
                            Defendants.          :
                                                    X



       DECLARATION OF ELIZABETH A. McNAMARA IN SUPPORT OF
    MOTION BY DEFENDANTS BAUER PUBLISHING COMPANY, L.P.; BAUER
  MAGAZINE, L.P.; BAUER MEDIA SALES, INC.; BAUER, INC.; HEINRICH BAUER
   NORTH AMERICA, INC.; AND BAUER MEDIA GROUP USA, LLC TO DISMISS
                        PLAINTIFFS’ COMPLAINT

        I, Elizabeth A. McNamara, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

    1. I am a partner at the law firm of Davis Wright Tremaine LLP, attorneys for Defendants

Bauer Publishing Company, L.P.; Bauer Magazine, L.P.; Bauer Media Sales, Inc., formerly

known as Bauer Media Group, Inc.; Bauer, Inc.; Heinrich Bauer North America, Inc.; and Bauer

Media Group USA, LLC (collectively, the “Bauer Defendants”) in the above-captioned matter.

    2. I submit this declaration to annex documents relevant to the Bauer Defendants’ motion to

dismiss Plaintiffs’ Complaint. These documents, the articles at issue in Plaintiffs’ invasion of
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privacy and tort of outrage claims, are integral to Plaintiffs’ claims, and are thus properly before

the Court on the Bauer Defendants’ Rule 12(b)(6) motion.

    3. Annexed hereto as Exhibit A is a true and correct copy of the article titled 19 Kids and

Counting Son Named in Underage Sex Probe published on May 19, 2015 on the In Touch website

and the companion print article titled Josh Duggar Named in Underage Sex Probe dated June 1,

2015 and available for sale May 20, 2015.

    4. Annexed hereto as Exhibit B is a true and correct copy of the article titled Bombshell

Duggar Police Report: Jim Bob Duggar Didn’t Report Son Josh’s Alleged Sexual Offenses For

More Than A Year published on May 21, 2015 on the In Touch website and the companion print

article titled Inside the Duggars’ Twisted World – House of Horrors dated June 8, 2015 and

available for sale on May 27, 2015.

    5. Annexed hereto as Exhibit C is a true and correct copy of the article titled Josh Duggar’s

Youngest Molestation Victim May Have Been As Young As 5-Years-Old published on May 26,

2015 on the In Touch website.

    6. Annexed hereto as Exhibit D is a true and correct copy of the article titled Josh Duggar’s

Chilling Molestation Confession in New Police Report published on June 3, 2015 on the In Touch

website and the companion print article titled Bombshell New Police Report dated June 15, 2015

and available for sale on June 3, 2015.

    7. Annexed hereto as Exhibit E is a true and correct copy of the article titled Josh Duggar

Resurfaces Looking Heavier, Unkempt published on April 28, 2017 on the In Touch website.
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